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EXHIBIT M
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THIS DEED

MADE this x * day of April in the year of our Lord, Two Thousand
Sixteen, 2016

BETWEEN, CARLOS E. ANDAGANA and JEANNETH C. GONZALEZ of the
Township of Stroud, County of Monroe and Commonwealth of Pennsylvania,
hereinafter referred to as Grantors,

AND

ANTONIO LUIS GUTIERREZ, of the Borough of Alpine, County of Bergen,
and State of New Jersey, hereinafter referred to as Grantee,

WITNESSETH, that in consideration of SEVENTY SIX THOUSAND
($76,000.00) DOLLARS, in hand paid, the receipt whereof is hereby
acknowledged, the Grantors do hereby grant and convey to the said Grantee,

his heirs and assigns,

ALL THAT CERTAIN lot or lots, parcel or piece of ground situate in the
Township of Stroud, Monroe County, Commonwealth of Pennsylvania, being
Lot No. 33, Section II, as is more particularly set forth on the Plot Map of
Cranberry Hill Corporation, Penn Estates, as same is duly recorded in the
Office for the Recording of Deeds, etc., Stroudsburg, Monroe County,
Pennsylvania in Plat Book Volume 32, Page(s) 123, 125.

UNDER AND SUBJECT, nevertheless, to all reservations, restrictions,
covenants, conditions, easements, leases and rights of way appearing of
record.

BEING the same premises which William E. Moore and Victoria L.
Moore, husband and wife, by Deed dated 02/16/2002 and recorded
03/28/2002 in the Office of the Recorder of Deeds in and for Monroe County,
Pennsylvania, Instrument No. 200212710, Book 2118, Page 4988, granted and
conveyed unto Carlos E. Andagana and Jeanneth C. Gonzalez, as joint tenants
with the right of survivorship.

“Parde| . /ise/1/33 “PIN | 176 38204421 RQ

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TOGETHER WITH all and singular the buildings and improvements,
ways, streets, alleys, driveways, passages, waters, water-courses, rights,
liberties, privileges, hereditaments, and appurtenances, whatsoever unto the
hereby granted premises belonging, or in anywise appertaining, and the
reversions and remainders, rents, issues, and profits thereof; and all the
estate, right, title, interest, property, claim and demand whatsoever of them,
the grantor, as well at law as in equity, of, in and to the same.

TO HAVE AND TO HOLD the said lot or piece of ground described
above, with the buildings and improvements thereon erected, hereditaments
and premises hereby granted, or mentioned and intended so to be, with the
appurtenances, unto the said Grantees, their heirs and assigns, to and for the
only proper use and behoof of the said Grantees, their heirs and assigns,
forever.

NOTICE - THIS DOCUMENT DOES NOT SELL, CONVEY, TRANSFER,
INCLUDE OR INSURE THE TITLE TO THE COAL AND RIGHT OF SUPPORT
UNDERNEATH THE SURFACE LAND DESCRIBED OR REFERRED TO
HEREIN, AND THE OWNER OR OWNERS OF SUCH COAL MAY HAVE THE
COMPLETE LEGAL RIGHT TO REMOVE ALL OF SUCH COAL AND IN THAT
CONNECTION DAMAGE MAY RESULT TO THE SURFACE OF THE LAND AND
ANY HOUSE, BUILDING OR STRUCTURE ON OR IN SUCH LAND. THE
INCLUSION OF THIS NOTICE DOES NOT ENLARGE, RESTRICT OR MODIFY
ANY LEGAL RIGHTS OR ESTATES OTHERWISE CREATED, TRANSFERRED,
EXCEPTED OR RESERVED BY THIS INSTRUMENT. (This notice is set forth
in the manner provided in Section 1 of the Act of July 17, 1957, P.L., 984
as amended, and is not intended as notice of unrecorded instruments, if

any.)

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AND THE GRANTORS will warrant SPECIALLY the property hereby
conveyed.

In Witness Whereof, the Grantors have hereunto set their hands and

seals the day and year first above written.

Signed, Sealed and Delivered
in the Presence of:

Han OF tole FOr
/ CARLOS E, ANDAGAN

Apri}. 08. Jog fot Gor zote,

JEANNETH C. GONZALEY?

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Commawweatth oF Penosylvania
COUNTY OF aware

Before me personally appeared CARLOS E. ANDAGANA and JEANNETH
C. GONZALEZ, satisfactorily proven to be the person whose names are

subscribed to the within instrument, and acknowledged executing the within
instrument for the purposes therein contained.

SWORN to before me this x day of April, 2016.

cli Wart Obes

NOTARIAL SEAL ‘ Notary Public J
aie blic .
uso ube My Commission Expires: d vy AS; Al&
CRANTON CITY, LACKAWANNA a
My Gommission Expires Jul 25,

§

[ hereby certify that the precise residence of the Grantee is:
HS lOneren Lane ; Alone, Ni A7620
SAL AA E FE

GOLDEN DOME ABSTRACT, LLC
Agent for Grantee

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COUNTY OF MONROE

RECORDER OF DEEDS
610 MONROE STREET
SUITE 125
STROUDSBURG, PA 18360
Area Code (570) 517-3969

Josephine Ferra - Recorder

Instrument Number - 201608351 Book - 2469 Starting Page - 8245
Recorded On 4/13/2016 At 10:26:57 AM * Total Pages - 5

* Instrument Type - DEED
Invoice Number - 706308

* Grantor - ANDAGANA, CARLOS E

“ Grantee - GUTIERREZ, ANTONIO LUIS

User - DAM
* Customer - SIMPLIFILE LC E-RECORDING
* FEES
STATE TRANSFER TAX $760.00 RETURN DOCUMENT TO:
STATE WRIT TAX $0.50 GOLDEN DOME
JCS/ACCESS TO JUSTICE $35.50 310 SPRUCE STREET, SUITE 201
RECORDING FEES $13.00 SCRANTON, PA 18503
AFFORDABLE HOUSING $13.00
COUNTY ARCHIVES FEE $2.00
ROD ARCHIVES FEE $3.00 | MC GIS Registry UPI Certification
TAX CODE CERTIFICATION $10.00 | On April 13,2016 By CAB
FEES TAX ID #
STROUDSBURG SCHOOL $380.00 LTV/ISE/1/33
REALTY TAX Total Tax IDs: 1
STROUD TOWNSHIP $380.00
TOTAL PAID $1,597.00

Hereby CERTIFY that this document 1s secorded in the
Recorder's Otfica of Monroe County, Peansylvania

THIS IS A CERTIFICATION PAGE

Do Not Detach

THIS PAGE IS NOW THE LAST PAGE
OF THIS LEGAL DOCUMENT

* _ Information denoted by an asterisk may change during
the verification process and may not be reflected on this page.

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Book: 2469 Page: 8249 I
